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May 13, 2024



Hon. John G. Koeltl
Daniel Patrick Moynihan United States
Courthouse
New York, NY 10007-1312

Re:     Letter Motion for Adjournment of Show-Cause Hearing: Leadenhall Capital
        Partners LLP et al v. Wander et al, case no. 1:24-cv-03453-JGK

Dear Hon. Koeltl:

      I write on behalf of Advantage Capital Holdings LLC and Kenneth King regarding the
Show Cause Hearing set for tomorrow morning (May 14) at 11:00 a.m.

        I will be attending a funeral in Philadelphia at 11:30 a.m. tomorrow, and am thus unable
to attend a hearing at that time. For that reason, my clients respectfully request that the hearing
be adjourned until Wednesday, May 15.

       Postponing the hearing by one day will cause no irreparable harm. Plaintiff seeks
monetary damages, and the complaint alleges that Plaintiff has been aware of the allegations
behind its claims for months or years.

        Counsel for Plaintiffs, in an email at 4:00 PM today, indicated that they are without
authority to consent to a one-day adjournment of the hearing. This is the first request to adjourn
this hearing that my clients have made.

Very truly yours,



Jonathan M. Watkins




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